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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-11-165
                                                  §
                                                  §
CATHERINE SANOUBANE                               §
JOSE MIGUEL BATISTA                               §

                                                ORDER

       Defendant Batista filed a motion for continuance, (Docket Entry No. 22). The government

and the codefendant are unopposed. The court finds that the interests of justice are served by

granting this continuance and that those interests outweigh the interests of the public and the

defendants in a speedy trial. The motion for continuance is GRANTED. The docket control order

is amended as follows:

       Motions are to be filed by:                     August 1, 2011
       Responses are to be filed by:                   August 15, 2011
       Pretrial conference is reset to:                August 22, 2011 at 8:45 a.m.
       Jury trial and selection are reset to:          August 29, 2011 at 9:00 a.m.


               SIGNED on May 5, 2011, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
